UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

 

 

WESTERN DIVISION
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STATES OF AMERICA, CA | O.
Plaintiff,
JUDGE JUDGE BLACK
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INDICTMENT
LARRY HOUSEHOLDER,
JEFFREY LONGSTRETH, 18 U.S.C. § 1962(d)
NEIL CLARK,
MATTHEW BORGES, FORFEITURE ALLEGATION
JUAN CESPEDES, and
GENERATION NOW,
Defendants.
THE GRAND JURY CHARGES:
COUNT ONE
(RICO CONSPIRACY)
At times relevant to this Indictment:
THE ENTERPRISE

Li Defendants LARRY HOUSEHOLDER, JEFFREY LONGSTRETH, NEIL
CLARK, MATTHEW BORGES, JUAN CESPEDES, and GENERATION NOW, and others
known and unknown to the Grand Jury constituted an “Enterprise,” (hereinafter “Householder’s
Enterprise”) as that term is defined in Title 18, United States Code, Section 1961(4), that is, a
group of individuals and entities associated in fact. Householder’s Enterprise constituted an

ongoing organization whose members functioned as a continuing unit for a common purpose of
achieving the objectives of the enterprise, and the enterprise engaged in, and its activities affected,
interstate commerce.
Roles of the Conspirators

Z. Defendant LARRY HOUSEHOLDER represents the State of Ohio’s 72 District
in the Ohio House of Representatives and has done so since January 2017. He also is the current
Speaker of the Ohio House of Representatives and has served in that capacity since January 7,
2019.

B. Defendant GENERATION NOW was a self-titled 501(c)(4), organized under the
laws of Delaware, registered in Ohio, and purported to be organized primarily for a social welfare
purpose under the Internal Revenue Code. The Internal Revenue Code, Title 26, United States
Code, Section 501(c)(4), provides for tax exempt status for social welfare organizations. A
“501(c)(4)” social welfare organization may “not [be] organized for profit but operated exclusively
for the promotion of social welfare[.]” 26 U.S.C. § 501(c)(4)(A). An entity may not qualify for
tax-exempt 501(c)(4) status “unless no part of the net earnings of such entity inures to the benefit
of any private shareholder or individual.” 26 U.S.C. § 501(c)(4)(B). A 501(c)(4) entity must
notify the IRS of its intent to operate as a 501(c)(4) organization. 26 U.S.C. § 506. The names
and addresses of contributors to 501(c)(4)s are not made available for public inspection.

4. GENERATION NOW maintained offices in Columbus, Ohio, within the Southern
District of Ohio. Although registered as a 501(c)(4), in reality, GENERATION NOW operated
as HOUSEHOLDER’s slush fund for the benefit of HOUSEHOLDER and his coconspirators.
From 2017 to present, GENERATION NOW received more than $59 million from “Company A

Service Co.,” “Company A-1,” and “Energy Pass-Through.”

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=a Defendant JEFFREY LONGSTRETH was HOUSEHOLDER’s campaign and
political strategist since at least in or about 2016. LONGSTRETH opened and is a signor on the
GENERATION NOW bank accounts. LONGSTRETH also owns and operates JPL &
Associates LLC and Constant Content Co., in Columbus, Ohio, in the Southern District of Ohio.
From 2017 through 2020, JPL & Associates received approximately $10.5 million directly from
GENERATION NOW, and another $4.4 million indirectly through Front Company (described
below). LONGSTRETH transferred $1,000,000 of the GENERATION NOW money to his
brokerage account in 2020.

6. Defendant NEIL CLARK owned and operated Grant Street Consultants, a
Columbus, Ohio-based lobbying firm that focuses on legislative, regulatory, and procurement
lobbying at the Ohio Statehouse. Prior to starting Grant Street Consultants, CLARK served as
budget director for the Ohio Senate Republican Caucus. Along with LONGSTRETH, CLARK
served as one of HOUSEHOLDER’ closest advisors and was HOUSEHOLDER’s “proxy” in
meetings with Householder’s Enterprise members and associates relating to House Bill 6
(described below) when HOUSEHOLDER was unavailable. In 2019, CLARK received
approximately $290,000 from GENERATION NOW, which had been laundered through other
accounts.

7. Defendant MATTHEW BORGES was a Columbus-based, lobbyist for Company
A-1 (defined below). On or about August 5, 2019, BORGES registered with the Ohio Secretary
of State, “17 Consulting Group LLC” (hereinafter “17 Consulting”) as a for-profit limited liability
company. Two days later, on or about August 7, 2019, BORGES opened a bank account for 17
Consulting Group LLC. BORGES listed himself as the President/Owner/CEO of 17 Consulting

Group LLC and as the sole signatory on the account. The day after BORGES opened the account,

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GENERATION NOW wired $400,000 into the account. Between in or about August 2019 and
October 21, 2019, Householder’s Enterprise funded the 17 Consulting account with $1.62
million in wire transfers from GENERATION NOW. BORGES used the bank account to pay
himself, pay CESPEDES, attempt to bribe an employee and agent of the Ballot Campaign
(described below), and pay for other expenses incurred by the Enterprise in defeating the Ballot
Campaign.

8. Defendant JUAN CESPEDES was an outside lobbyist for Company A-1 who was
central to Company A-1’s efforts and Householder’s Enterprise to get the bailout legislation
passed in Ohio. CESPEDES was paid both by Householder’s Enterprise and Company A’s
Service Co. for his efforts and often served as a key middleman. In 2019, CESPEDES received
$600,000 from GENERATION NOW via BORGES’ account.

Other Individuals and Entities

9. “Company A Corp.” was an Akron-based public utility holding company.
Throughout the start of the relevant period until in or around February 2020, Company A Corp.
was the parent company to entities involved in nuclear energy generation, including Company A-
1. Company A Service Co. is a principle subsidiary of Company A Corp. According to its 2019
annual report, the President and Chief Executive Officer of Company A Corp. also served as the
President and Chief Executive Officer of Company A Service. Co.

10. “Company A Service Co.” was a principle subsidiary of Company A Corp., and
operated as Company A’s service company, providing legal, financial, and other corporate support
services to Company A and its affiliates, including Company A-1. Services provided by Company
A Service Co. included corporate contributions and advocacy on behalf of Company A and its

affiliates at the federal, state, and local levels, among other services. The President and Chief

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Executive Officer of Company A Corp., also serves as the President and Chief Executive Officer
of Company A Service Co.. Company A Service Co. provides services to Company A-1, as

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described below, including “external affairs,” “corporate contributions,” ‘‘Federal/State/Local
Regulatory Affairs,” and “advocacy at the Federal, State, and Local levels.” From in or about
March 2017 to October 22, 2019, Company A Service Co. wired millions of dollars to
GENERATION NOW.

a “Company A-1” was a wholly-owned subsidiary of Company A Corp. involved in
nuclear energy generation. Through subsidiaries, Company A-1 owned and operated two nuclear
plants in Ohio, “Nuclear Plant 1” and “Nuclear Plant 2” (together, the “Nuclear Plants”). In March
2018, Company A-1 filed for Chapter 11 bankruptcy. As a result of the bankruptcy proceedings,
Company A-1 separated from Company A Corp. in or around February 2020.

12, “Energy Pass-Through” was registered as a 501(c)(4) entity in Ohio approximately
two days after GENERATION NOW registered in Delaware. During the period from its
inception in or around February 2017 to October 2019, Energy Pass-Through was funded
exclusively by $25 million from Company A Service Co. GENERATION NOW then received
more than $15 million from Energy Pass-Through between in or around February 2017 through in
or around March 2020.

13. “Company A” refers collectively to Company A Corp., Company A Service Co.,
and Company A-1. Prior to February 2020, both Company A Service Co. and Company A-1 were
subsidiaries of Company A Corp. Until February 2020, all three entities shared a common first

name, and members and associates often referred generically to the “company” or to the common

first name (“Company A”) in communications.

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14. “Company-A-to-GENERATION-NOW payments” refers to money from
Company A Corp, Company A-1, Company A Service Co., and Energy Pass-Through that was
deposited into GENERATION NOW’s bank account. |

15. “PAC” was a federal Political Action Committee. During the 2018 election cycle,
Householder’s Enterprise laundered at least $1,000,000 from GENERATION NOW through
PAC to pay for media buys in PAC’s name to help elect candidates loyal to defendant
HOUSEHOLDER. During the 2020 primary election, Householder’s Enterprise laundered
over $1,000,000 from GENERATION NOW to PAC, via Coalition, to pay for media buys in
PAC’s name to help elect candidates supported by HOUSEHOLDER.

16. “Coalition” was a purported 501(c)(4) entity. In 2020, Householder’s Enterprise
wired over $1,000,000 from GENERATION NOW to Coalition, which was then wired to PAC
to for media buys in PAC’s name to help elect candidates supported by HOUSEHOLDER.
According to LONGSTRETH, he oversees political activities for Coalition.

Li “Dark Money Group 1” was incorporated on or about September 21, 2018, less than
two months before the 2018 general election. In the weeks before the 2018 general election,
GENERATION NOW wired $670,000 to Dark Money Group 1, while Energy Pass-Through
wired $500,000. Between on or about October 20, 2018 and November 1, 2018, Dark Money
Group 1 spent all of this money to pay for television, radio and print advertisements (“media buys”)
targeting the rivals of HOUSEHOLDER’s candidates in the name of Dark Money Group 1.

18. | Householder’s Enterprise employed numerous individuals in various capacities,
(designated herein as “Associates”), whom Householder’s Enterprise paid either through
GENERATION NOW or by _ funneling GENERATION NOW money _ through

LONGSTRETH?’s accounts.

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The Ohio Legislature

19. The Ohio House of Representatives is an elected body of the Ohio General
Assembly. Members of the Ohio House of Representatives serve two-year terms and are limited
to four consecutive two-year terms. House members propose, advance, and vote on legislation.

20), The Speaker of Ohio is the leader of the Ohio House of Representatives. The
Speaker guides the agenda of the chamber, presides over the House session, and provides direction
to House members and staff. The Speaker also decides when bills reach the House floor for a vote
and who serves in leadership positions in the Speaker’s caucus. The Speaker names all committees
and subcommittees, and appoints all members and chairs to committees and subcommittees.

21 The Speaker is elected at the beginning of every General Assembly, which
convenes its first regular session on the first Monday of January in odd-numbered years. To choose
a Speaker, representatives-elect of the majority caucus in the House nominate and vote for a
candidate for Speaker. The Speaker candidate who receives an absolute majority of those votes is
then voted on by all House members during the first session day of the General Assembly.

Company A’s Bail Out

22. Beginning in and around 2016, Company A Corp. reported to shareholders billions
of dollars in losses, including financial losses by Company A-1 and its nuclear-generating assets.
By in and around 2017, Company A Corp. announced publicly that, absent a legislative solution,
Company A-1’s strategic options were limited to bankruptcy, plant deactivations, and/or
restructuring debt.

23, In or around March 2018, Company A-1 and other nuclear-generation-related

affiliates of Company A Corp. filed Chapter 11 bankruptcy. Under Company A-1’s proposed

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restructuring plan, Company A Corp. would divest its interest in Company A-1 and its other
nuclear generation assets.

24. — Also in or around March 2018, Company A-1 announced that it would close the
Nuclear Plants absent legislative action. Specifically, Company A-1 stated that it would deactivate
Nuclear Plant 1 and Nuclear Plant 2 in the next three years but would continue normal operations
of the facilities until then. Company A-1 also announced that it was seeking a legislative solution
as an alternative to deactivation of the Nuclear Plants.

25. House Bill 6 (“HB 6”) was proposed legislation introduced in the Ohio House of
Representatives on or about April 12, 2019, roughly three months after HOUSEHOLDER
became Speaker of the Ohio House of Representatives. Titled the “Ohio Clean Air Program,” HB
6 was referred to the House Energy and Natural Resources Committee, which assigned the bill to
anewly created subcommittee, the House Energy and Natural Resources Subcommittee on Energy
Generation (“Subcommittee on Energy Generation”). HB 6 allowed nuclear or solar resources to
apply to be “qualifying” resources, which would make them eligible for a state subsidy of $9 per
megawatt hour produced. The legislation provided for the collection of a monthly-fixed charge to
all residential, commercial, industrial, and large consumers to pay for the subsidy. Under the
legislation, the subsidy is dispersed at the Direction of the Ohio Air Quality Development
Authority. As passed, HB 6 added six new members to the Ohio Air Quality Development
Authority, increasing the total from seven to thirteen, three of which are selected by the Speaker
of the House. As passed, HB 6 also included a provision that gave an electric distribution utility,
such as Company A Corp, the ability to decouple energy rates, which would allow a company to

bill retail customers for a surcharge if the company’s annual revenue fell below a baseline revenue.

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HB 6 passed the House on or about May 29, 2019. The bill passed the Senate and, on or about
July 23, 2019, the Governor signed the legislation into law.

26. “Ballot Campaign,” was a ballot issue political action committee formed to repeal
HB 6 through a ballot referendum. On or about July 29, 2019, Ballot Campaign submitted to the
Ohio Attorney General its petition to repeal the legislation through a ballot referendum.

27. The next day, on or about July 30, 2019, “Front Company” was formed to defeat
the Ballot Campaign. “Front Company,” operated as a pass-through entity. According to required
disclosures, Front Company paid for millions of dollars in direct mailers and television
advertisements. However, Householder’s Enterprise fully funded Front Company through
Company-A-to-GENERATION-NOW payments. Specifically, between August 2019 and
November 2019, Householder’s Enterprise received over $38 million into GENERATION
NOW from Company A and then transferred approximately $23 million from GENERATION
NOW to Front Company.

28. On or about August 29, 2019, the Ohio Attorney General approved the Ballot
Campaign’s second proposed summary of its referendum petition. The Ohio Secretary of State
validated its initial submission of signatures the next day, meaning that the Ballot Campaign had
until on or about October 22, 2019, the effective date of HB 6, to circulate its petition and collect
the requisite signatures for a ballot referendum. If the Ballot Campaign was successful, the.
implementation of HB 6 would be stayed until the following year’s general election.

29. “CHS-1” was employed by and was an agent of the Ballot Campaign as a
supervisor, who, among other things, managed signature collectors. After receiving a bribery
solicitation in or about September 2019, CHS-1 contacted the Federal Bureau of Investigation

(“FBI”), assisted the FBI in its investigation, and acted at FBI’s direction.

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30. Signature collectors were employees and agents of the Ballot Campaign, whose
duties included collecting signatures in favor of the referendum. Between in or about September
2019 through October 21, 2019, agents of Front Company attempted to bribe signature collectors.

31. The Ballot Campaign failed to collect enough signatures to put the issue on the
ballot for a vote by Ohio citizens, and HB 6 became law effective on or about October 22, 2019.

THE PURPOSES OF THE ENTERPRISE

Ses The primary purposes of Householder’s Enterprise included:

A. Obtaining, preserving, and expanding HOUSEHOLDER’ political power in the
State of Ohio through the receipt and use of secret payments;

B. Enriching and benefitting the enterprise, its members, and associates; and

C, Promoting, concealing, and protecting purposes (A) and (B) from public exposure
and possible criminal prosecution.

THE RACKETEERING CONSPIRACY

33. | Beginning in or about 2016 and continuing to the present, the exact date being
unknown to the Grand Jury, in the Southern District of Ohio and elsewhere, the Defendants,
LARRY HOUSEHOLDER, JEFFREY LONGSTRETH, NEIL CLARK, MATTHEW
BORGES, JUAN CESPEDES, and GENERATION NOW, and others known and unknown to
the Grand Jury, being persons employed by and associated with Householder’s Enterprise, an
enterprise, engaged in, and the activities of which affected interstate commerce, did knowingly
and intentionally conspire with each other and others known and unknown to the Grand Jury to
violate Title 18 United States Code, Section 1962(c), that is, to conduct and participate directly
and indirectly, in the conduct of the affairs of the enterprise through a pattern of racketeering

activity, as that term is defined in 18 U.S.C. §§ 1961(1) and 1961(5), consisting of multiple acts

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indictable under 18 U.S.C. §§ 1343, 1346 (relating to honest services wire fraud); 18 U.S.C. §
1951 (relating to interference with commerce, robbery, or extortion); 18 U.S.C. § 1952 (relating
to racketeering, including multiple acts of bribery under Ohio Revised Code § 3517.22(a)(2)); 18
U.S.C. § 1956 (relating to the laundering of monetary instruments); 18 U.S.C. § 1957 (relating to
engaging in monetary transactions in property derived from specified unlawful activity); and
multiple acts involving biden chargeable under Ohio Revised Code § 2921.02. It was part of
the conspiracy that each Defendant agreed that a conspirator would commit at least two acts of
racketeering activity in the conduct of the affairs of the enterprise.
MANNER AND MEANS OF THE CONSPIRACY

34. It was part of the conspiracy that since at least 2016, members and associates of
Householder’s Enterprise planned for HOUSEHOLDER’s election as the Speaker of the House
for the State of Ohio.

35; It was part of the conspiracy that Householder’s Enterprise created an entity
called GENERATION NOW to solicit, receive, and disburse money obtained in furtherance of
its purposes.

36. It was part of the conspiracy that HOUSEHOLDER controlled and directed
GENERATION NOW, with LONGSTRETH and others operating GENERATION NOW for
the benefit of Householder’s Enterprise and at HOUSEHOLDER’s direction. However,
Householder’s Enterprise concealed HOUSEHOLDER’s connection to GENERATION
NOW and its true purpose on documents Householder’s Enterprise submitted to financial
institutions, the State of Ohio, and the IRS, which concealed its criminal activities.

37. It was part of the conspiracy that, although GENERATION NOW claimed to

operate as a nonprofit, 501(c)(4) social welfare entity, Householder’s Enterprise used

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GENERATION NOW as a mechanism to receive and conceal bribe payments for the benefit of
Householder’s Enterprise members, Householder’s Enterprise associates, and others, both
directly and indirectly.

38. It was part of the conspiracy that Householder’s Enterprise and its associates
solicited and received contributions tt HOUSEHOLDER through GENERATION NOW
because the contributions were concealed from public scrutiny and not subject to reporting
requirements.

39. It was part of the conspiracy that Householder’s Enterprise used GENERATION
NOW as a vehicle to receive “secret” money because HOUSEHOLDER’s connection to
GENERATION NOW and the names of contributors to GENERATION NOW, as a purported
501(c)(4), were not made public.

40. It was part of the conspiracy that HOUSEHOLDER and other Householder’s
Enterprise members and associates solicited and received money from individuals and entities
into GENERATION NOW with the intent that the profit from GENERATION NOW would
benefit directly HOUSEHOLDER and Householder’s Enterprise members, Householder’s
Enterprise associates, and other private individuals. To conceal the benefits to Householder’s
Enterprise members and associates, Householder’s Enterprise funneled payments to
GENERATION NOW through other entities controlled by Householder’s Enterprise before
paying the benefits to Householder’s Enterprise members and associates.

41. It was part of the conspiracy that, between on or about March 2017 and March
2020, Householder’s Enterprise agreed to receive and accept millions of dollars in bribe
payments from Company A, including bribe payments paid through GENERATION NOW, in

return for HOUSEHOLDER taking specific official action for the benefit of Company A, namely,

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to help enact into law legislation that would go into effect and save the operation of the Nuclear
Plants. Examples of HOUSEHOLDER’s specific official action of helping enact into law
legislation that would go into effect and save the operation of the Nuclear Plants include: assisting
in crafting the legislation; creating a House subcommittee for the legislation and appointing
members to the House subcommittee; using his position as Speaker to pressure and advise public
officials to take official action to further the legislation and to further efforts to ensure the
legislation took effect; scheduling and arranging for votes to ensure passage of the legislation;
and voting in favor of the legislation.

42. It was further part of the conspiracy that HOUSEHOLDER and Householder’s
Enterprise received and accepted payments from Company A corruptly with the intent that
HOUSEHOLDER would be influenced and rewarded in connection with the legislation that
would save the operation of the Nuclear Plants. These payments included millions of dollars in
payments from Company A that passed through Energy Pass-Through before being transferred to
Householder’s Enterprise through GENERATION NOW and other entities controlled by
Householder’s Enterprise and its associates.

43. It was part of the conspiracy that Householder’s Enterprise used the Company-
A-to-GENERATION-NOW payments to further Householder’s Enterprise’s purposes,
including by enriching and benefitting Householder’s Enterprise members and associates by
paying the operating costs of Householder’s Enterprise (such as wages, rent and legal fees); to
advance HOUSEHOLDER politically by, for example, paying for media buys and campaign staff
for HOUSEHOLDER’s candidates and for himself; to pressure public officials to support HB 6;

and to enrich and benefit members and associates of Householder’s Enterprise. In so doing,

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Householder’s Enterprise laundered Company-A-to-GENERATION-NOW payments through
other entities controlled by Householder’s Enterprise.

44. It was part of the conspiracy that Householder’s Enterprise used Company-A-to-
GENERATION-NOW payments to further Householder’s Enterprise’s purposes including
obtaining, preserving, and expanding HOUSEHOLDER’s political power and enriching and
benefitting Householder’s Enterprise, its members and associates.

45. It was part of the conspiracy that Householder’s Enterprise used payments into
GENERATION NOW, including bribe payments from Company A Service Co. and Company
A-1, to support candidates for House seats in the 2018 primary and general elections, who would
vote for HOUSEHOLDER for Speaker, and would later support HB 6. It was further part of the
conspiracy that Householder’s Enterprise used payments into GENERATION NOW, including
bribe payments from Company A Service Co. and Company A-1, to support candidates for House
seats in the 2020 primary elections. Householder’s Enterprise, at times, characterized candidates
supported by the Enterprise as a member of the “team” and “Team Householder” candidates.

46. It was part of the conspiracy that during the 2018 election cycle and the 2020
primary season, Householder’s Enterprise laundered payments into GENERATION NOW,
including Company-A-to-GENERATION-NOW bribe payments, through different accounts to
further Householder’s Enterprise’s purposes and to enrich and benefit its members and
associates.

47. It was part of the conspiracy that, after his election as Speaker in 2019,
HOUSEHOLDER promised to perform and performed specific official action on behalf of
Householder’s Enterprise by helping enact into law HB 6 in return for payments from Company

A.

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Ag. It was part of the conspiracy that Householder’s Enterprise received and accepted
millions of dollars in bribe payments into GENERATION NOW from Company A while HB 6
was pending before Ohio public officials, which Householder’s Enterprise used to further the
purposes of Householder’s Enterprise and pass HB 6.

49. It was part of the conspiracy that Householder’s Enterprise coordinated with
agents of Company A relating to payments into GENERATION NOW and the passage of HB 6.

50. It was part of the conspiracy that, after the passage of HB 6, Householder’s
Enterprise worked to defeat the Ballot Campaign.

aL. It was part of the conspiracy that to conceal the origin of the attacks on the Ballot
Campaign, Householder’s Enterprise created Front Company, which served as a front
organization for Householder’s Enterprise, and through which Householder’s Enterprise
laundered payments from Company A.

52. It was part of the conspiracy that Householder’s Enterprise bribed and attempted
to bribe employees and agents of the Ballot Campaign to improperly discharge their campaign
duties and to obtain information about the Ballot Campaign’s organization in order to defeat the
Ballot Campaign, and did so by laundering money through various entities, including Front
Company.

5a, It was part of the conspiracy that, after the Ballot Campaign failed, Householder’s
Enterprise, its members and associates, used the Company-A-to-GENERATION-NOW
payments to further Householder’s Enterprise’s purposes, including enriching and benefitting

themselves, by laundering the money through various accounts controlled by the Enterprise.

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ACTS IN FURTHERANCE OF THE CONSPIRACY

54. In furtherance of the conspiracy and to achieve the objectives thereof, the

conspirators performed and caused to be performed the following acts, among others:
Formation of Generation Now

55. Between 2016 and 2017, Householder’s Enterprise developed a strategy for
HOUSEHOLDER’s bid to become the Ohio Speaker of the House in 2019. The “Game Plan
2018,” which Householder’s Enterprise committed to writing, included “hit/ting] the ground
running with a C4 working as the recruitment and fundraising arm” and noted that “/t/he only
things that matter right away are raising money and recruiting candidates.”

56. On or about February 6, 2017, GENERATION NOW was incorporated in
Delaware. On or about February 6, 2017, Householder’s Enterprise opened two bank accounts
for GENERATION NOW, with LONGSTRETH as a signor on both accounts. Householder’s
Enterprise listed GENERATION NOW as a “non profit corp” in the bank filings for both
accounts.

57. On or about July 26, 2017, GENERATION NOW registered with the Ohio
Secretary of State as a foreign nonprofit corporation. Publicly available registration documents
filed with the Ohio Secretary of State falsely described GENERATION NOW’s purpose as being
“organized exclusively for the promotion of social welfare and economic development purposes
within the meaning of Section 501(c)(4) of the Internal Revenue Code.” The filings contain a
certification from the Delaware Secretary of State stating that GENERATION NOW is an
“Exempt Corporation.”

58. | Householder’s Enterprise did not include HOUSEHOLDER’s name on the state

filings, bank account, or IRS filings.

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59, GENERATION NOW’s publicly available website listed Seniors, Energy, Health
Care, and Financial Security as its “Issues.”

60. On November 13, 2019, LONGSTRETH signed under penalty of perjury an IRS
Form 990 for the tax year 2017, which was filed with IRS on November 19, 2019, declaring that
GENERATION NOW was a 501(c)(4). According to the publicly available filing,
GENERATION NOW described its mission as “promot[ing] energy independence and economic
development opportunities throughout the United States.” GENERATION NOW indicated that

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it had “delegated control over management duties” to “JPL & Associates,” which was also
GENERATION NOW’s sole “voting member.” Further, GENERATION NOW reported that
out of $1,332,103 in contributions into GENERATION NOW in 2017—of which bank records
show, $1,000,000 came from Company A during that year—it paid JPL & Associates $580,833 as
“Management Fees,” and $639,213 remained in the GENERATION NOW account as “assets.”
GENERATION NOW also claimed that it had paid no benefits to or for members and paid no
salaries, other compensation, or employee benefits. GENERATION NOW’s 990 Form for tax
year 2017 also stated that it raised all of its funds through “mail solicitations” and “internet and
email solicitations.”

61. Contribution forms for GENERATION NOW’s donors, created by and at the
direction of Enterprise members. and associates, stated that GENERATION NOW was an
“independent, nonprofit organization exempt from federal taxation under Section 501 (c)(4) of the
Internal Revenue Code.” The Contribution Forms further stated:

I would like to contribute to Generation Now, Inc., a nonprofit
organization under §501 of the Internal Revenue Code promoting
energy independence and economic development opportunities
throughout the United States. Generation Now is not registered or

acting as a political committee under federal election law or any
state or local election law. It may in limited cases engage in political

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activity consistent with applicable laws and IRS regulations by
making independent expenditures and/or _ electioneering
communications, but not to the extent such activity could be
considered its primary purposed [sic].

62. Householder’s Enterprise entered a grant agreement on behalf of
GENERATION NOW with another entity, in which GENERATION NOW received funds from
the other entity by asserting that it was a “tax-exempt, not for profit organization that operates in
accordance with the Internal Revenue Code Section 501(c)(4).”. GENERATION NOW further
agreed, “grant funds will be used by Generation Now Inc. in furtherance of its primary tax exempt
purpose, and exclusively in connection with programs, efforts, and activities that promote the
social welfare.” GENERATION NOW certified that “[flunds provided by [grantee] to
Generation Now Inc. may not be used in furtherance of any political or campaign intervention
activities (as those terms are currently defined by the IRS).” Despite these representations,
Householder’s Enterprise used GENERATION NOW funds provided by the grantor to benefit
Householder’s Enterprise members personally and to support political campaigns in furtherance
of Householder’s Enterprise’s interests after laundering the funds through related entities.

“GENERATION NOW is the Speaker’s (c)(4)”

63. Although Householder’s Enterprise represented that GENERATION NOW was
a nonprofit 501(c)(4) organized for a social welfare purpose consistent with IRS regulations,
HOUSEHOLDER controlled GENERATION NOW, and Householder’s Enterprise used
funds into GENERATION NOW to benefit HOUSEHOLDER and Householder’s Enterprise
members and associates personally. As CLARK made clear during a recorded meeting in or
around July 2019: “Generation Now is the Speaker’s (c)(4), that’s the one I work for.”

64. On or about July 24, 2019, in regards to Householder’s Enterprise HB 6 efforts,

CLARK told individuals he was HOUSEHOLDER’s “proxy” when HOUSEHOLDER was

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unavailable. CLARK referenced “Gen Now” as a (c)(4) that works like a PAC but there’s “no
reporting.” CLARK stated that he was “not on any documents” connected to GENERATION
NOW, but they call him “the overseer” of GENERATION NOW, explaining further, “J’m the
Speaker's appointed guy to do that. Okay, so, it’s like having him in the room.” CLARK then
explained an upcoming GENERATION NOW meeting that would be attended by
HOUSEHOLDER as: “When I, so like, we have a meeting on Friday, he’s going to be in the
room, so I'll be just like everyone else, I'll be, I'll be another fucking staffer. When he’s out of the
room, I’m the guy.”

65. In a recorded meeting on or about September 13, 2019, BORGES similarly
described CLARK as HOUSEHOLDER’s “proxy”: “Neil sits in meetings and he'll say ‘I’m the
proxy for the Speaker in this meeting . . . so anything you tell me,’ and you kind of think it’s typical
Neil bullshit stuff except it is not; he’s really acting as his proxy.”

66. CLARK indicated in recorded conversations that funds into. GENERATION
NOW were really payments to HOUSEHOLDER. For example, in advising individuals to
contribute to GENERATION NOW on or about July 23, 2019, CLARK explained that the
individuals could write a check—a “noticeable number . . . $15-20-25,000°—to “Gen Now and
hand deliver the check to the Speaker.” CLARK did not disclose in the meeting that, earlier in
July 2019, he had received through his company account $100,000 from GENERATION NOW
via a LONGSTRETH-controlled account.

67. Similarly, on or about September 13, 2019, in a recorded conversation, BORGES
confirmed HOUSEHOLDER’s management of GENERATION NOW, explaining, “Like

[Associate 3] who has to, who has to, answer to the press obviously, he wants to quit so bad ‘cause

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he’s like ‘this is my reputation now’ you know ... but he can’t because the Speaker won't let him,
but he, god, he hates this shit.” Associate 3 is a paid spokesperson for GENERATION NOW.
68. During the conspiracy, HOUSEHOLDER personally solicited money for

GENERATION NOW. The following conversation between HOUSEHOLDER and CLARK
during a recorded call in January 2018 showed HOUSEHOLDER’s role with respect to soliciting
money into GENERATION NOW:

HOUSEHOLDER: Now switching gears. So we are looking at the payday

lenders. And we are expecting big things in (c)(4) money from payday lenders....

CLARK: Right. Right.

HOUSEHOLDER: So far, I think we are what, fifty? I think [speaking to someone

else in the room]

CLARK: Are you, you're checking now with Jeff right?

HOUSEHOLDER: Right.

CLARK: You should have gotten twenty-five or fifty from [name redacted],

correct?

HOUSEHOLDER: Fes.

HOUSEHOLDER: [After confirming with someone in the background] Twenty
five total... Twenty-five total is what we 0 got.
At the time of the call, Householder’s Enterprise had received a check for $25,000 into a
GENERATION NOW account that matched the payor described during the call.
69. During the same conversation, HOUSEHOLDER confirmed to CLARK that

another corporate entity gave $30,000 to “the (c)(4).” Bank records show a $30,000 “contribution”

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from that corporate entity was deposited into the GENERATION NOW account on or about
October 19, 2017.

70. During a recorded conversation between HOUSEHOLDER and CLARK on or
about February 5, 2018, HOUSEHOLDER again inquired about “(c)(4) money.” Specifically,
HOUSEHOLDER stated, “J’m sitting here with [Associate 2]... . We're talking about (c)(4)
money, and we 're trying to figure on where the payday lenders were going to be at. Can you help
me with that?” Householder’s Enterprise listed Associate 2 on a GENERATION NOW
Contribution Form as a contact for donors.

71. During the conspiracy, HOUSEHOLDER’s actions also show _ that
GENERATION NOW was HOUSEHOLDER’s 501(c)(4).. For example, on or about June 12,
2019, HOUSEHOLDER and LONGSTRETH communicated about the GENERATION NOW
commercials airing on television. HOUSEHOLDER told LONGSTRETH that he was “sick of
seeing that poor sum bitch drive that pickup truck down the road and cry about losing his job,” a
reference to their GENERATION NOW television ad about HB 6 featuring an employee of one
of the Nuclear Plants describing job loss if the plant closes. LONGSTRETH responded that “it 7/
change out later this week.” During the conspiracy, other actions taken by HOUSEHOLDER
show his control and management of GENERATION NOW, including:

A. HOUSEHOLDER participated in GENERATION NOW meetings with
LONGSTRETH and other Householder’s Enterprise members;
B. HOUSEHOLDER maintained an office, along with LONGSTRETH,

within GENERATION NOW’s headquarters;

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C. HOUSEHOLDER’s campaign staff and associates were paid directly
through GENERATION NOW and by GENERATION NOW money
passed through LONGSTRETH’s accounts.

D. HOUSEHOLDER controlled who was associated with and/or employed
by GENERATION NOW.

E. HOUSEHOLDER directed GENERATION NOW’s messaging.

F. Complaints about GENERATION NOW from other public officials were
made directly to HOUSEHOLDER and were referred to
HOUSEHOLDER.

GENERATION NOW is HOUSEHOLDER’s Vehicle for Receiving “Secret” Payments
res CLARK and HOUSEHOLDER discussed the benefits of using a 501(c)(4) to
collect money on or about January 25, 2018, in a recorded call: “what's interesting is that there’s
a newer solution that didn't occur in, 13 years ago, is that they can give as much or more to the
(c)(4) and nobody would ever know.”

73. Similarly, on or about May 1, 2019, CLARK described GENERATION NOW
during a recorded conversation as HOUSEHOLDER’s “secret” (c)(4): “it’s secret, a (c)(4) is
secret. Nobody knows the money goes to the Speaker's account, it is controlled by his people, one
of his people, and it’s not recorded. A (c)(4) is non-recorded.”

74. Consistent with this, GENERATION NOW contribution forms soliciting
donations into GENERATION NOW stated that the IRS does not make contribution information

public and that “Generation Now, Inc.'s policy is not to disclose its donors to the general public.”

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Householder’s Enterprise Received Millions in Bribe Payments from Company A
73. Between in or around March 2017 and March 2020, HOUSEHOLDER and
Householder’s Enterprise received over $64 million in secret payments into GENERATION
NOW, the vast majority of which—approximately 93%—came from Company A-1, Company A
Service Co., and Energy Pass-Through.
| 76. Between in or around March 2017 and March 2020, Householder’s Enterprise
received from Company A-1, Company A Service Co., and Energy Pass-Through over $59.9
million into GENERATION NOW in return for legislation that would save the operation of the
Nuclear Plants.
7d During the period of the conspiracy, Householder’s Enterprise began referring to
Company A as their “bank” because of the volume of money paid to HOUSEHOLDER into
GENERATION NOW. As CLARK explained during a recorded conversation in July 2019: “We
call [Company A] ‘the Bank’ because they can do, they can do, they can fund these things for 20
years if they want to. . .. They’ve got too much money, too much power.” CLARK remarked that
the amount of money from Company A into GENERATION NOW was “unlimited.” CLARK
further stated that HOUSEHOLDER “gets checks from ‘the Bank’; remember, I told you what
the ‘the Bank’ is, you know, $1.5 million dollars, $2 million dollars.”

Householder’s Enterprise Used Company-A-to-GENERATION-NOW Payments to
Benefit and Enrich the Enterprise, and its Members and Associates

78. Between on or about February 6, 2017 and to on or about April 28, 2020,
Householder’s Enterprise used the Company-A-to-GENERATION-NOW payments to fund the
operating costs of Householder’s Enterprise, including rent for office space, wages to associates

and other individuals employed by Householder’s Enterprise, lodging, meals, and parking.

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79. Between on or about February 6, 2017 and to on or about April 28, 2020,
Householder’s Enterprise transferred at least $14.9 million in Company-A-to-GENERATION-
NOW payments to other LONGSTRETH-controlled accounts. (Approximately $4.4 million of
that total passed through Front Company before being deposited into LONGSTRETH’s
accounts.) Householder’s Enterprise then used the money transferred into LONGSTRETH’s
accounts to pay additional operating costs of Householder’s Enterprise, pay third parties, and
pay benefits to members and associates of Householder’s Enterprise.

80. Householder’s Enterprise funneled payments from GENERATION NOW to
LONGSTRETH-controlled accounts to conceal personal benefits paid to HOUSEHOLDER,
which Householder’s Enterprise disguised in the IRS 990 Form for tax year 2017 as
“Management Fees” paid to JPL & Associates. For example, in 2017, after transferring money
from GENERATION NOW’s bank account to a JPL & Associates’ bank account for what
Householder’s Enterprise characterized to the IRS as “Management Fees,” Householder’s
Enterprise paid approximately $60,000 to a law firm that was then representing
HOUSEHOLDER in a civil lawsuit. Because of JPL & Associate’s low bank account balance at
the time, Householder’s Enterprise’s $60,000 transfer to the law firm was only possible because
of GENERATION NOW’s infusion of money into the JPL & Associates account.

81. As the payments into GENERATION NOW increased, Householder’s
Enterprise’s subsequent money transfers from GENERATION NOW to JPL & Associates—
which, according to the 2017 990 Form, controlled the “Management” of GENERATION NOW
and was the sole voting member—also increased. For example, in 2018, GENERATION NOW

- received over $3.2 into its bank account and then paid over $1.8 to a JPL & Associates account.

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In 2019, GENERATION NOW received over $57.3 million into its bank account and then paid

over $7.9 a JPL & Associates account.

82. Between on or about February 6, 2017 and to on or about April 28, 2020,

Householder’s Enterprise used more than $400,000 in GENERATION NOW payments, that

account being funded by Company A, which were funneled through LONGSTRETH-controlled

accounts to benefit HOUSEHOLDER personally, including:

A.

Approximately $300,000 paid through multiple LONGSTRETH-
controlled accounts, to settle a lawsuit (mentioned above) and pay legal fees
related to a civil judgment against HOUSEHOLDER for more than a
million dollars;

More than $100,000 passed through a LONGSTRETH-controlled account
to pay for repairs and costs associated with HOUSEHOLDER’s Florida
home:

Approximately $20,000 passed through a LONGSTRETH-controlled
account to pay credit card debt held by HOUSEHOLDER; and

At least $97,000 spent on campaign expenses for HOUSEHOLDER during

his 2018 campaign.

83. Between on or about February 6, 2017 and to on or about April 28, 2020,

LONGSTRETH used for his own benefit at least $2 million in Company-A-to-GENERATION-

NOW payments that were transferred to accounts that he controlled, including a wire of

$1,000,000 to his brokerage account and hundreds of thousands of dollars spent on mortgage

payments, car payments, and credit card payments.

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84. Between on or about February 6, 2017 and to on or about April 28, 2020, CLARK
received at least $290,000 in Company-A-to-GENERATION-NOW payments, which passed
through at least one other account controlled by Householder’s Enterprise before reaching
CLARK’s bank account.

85. Between on or about February 6, 2017 and to on or about April 28, 2020, BORGES
received at least $350,000 in Company-A-to-GENERATION-NOW payments, which were
transferred to him through the 17 Consulting bank account.

86. Between on or about February 6, 2017 and to on or about April 28, 2020,
CESPEDES received at least $600,000 in Company-A-to-GENERATION-NOW payments,
which passed through the 17 Consulting bank account before reaching his bank account.

87. Between on or about February 6, 2017 and to on or about April 28, 2020,
Householder’s Enterprise paid Associates 1, 3, 4, and 5 a total of at least $725,000 in Company-
A-to-GENERATION-NOW payments, many of which passed through at least one other account
controlled by Householder’s Enterprise before reaching the associate’s bank account.

88. On or about November 13, 2019, LONGSTRETH signed under penalty of perjury
the IRS Form 990 for the tax year 2017, claiming GENERATION NOW was a 501(c)(4).
According to the filing, GENERATION NOW’s largest program service accomplishment,
measured by expenditures, was $500 spent on building “a grassroots infrastructure and online
campaign to educate the public about the need for clean, reliable energy generation in Ohio.”

The Enterprise Also used Company-A-to-GENERATION-NOW Payments to
Obtain, Preserve, and Expand HOUSEHOLDER’s Political Power

89. Throughout the conspiracy, Householder’s Enterprise used GENERATION
NOW money to increase HOUSEHOLDER’s political power by helping HOUSEHOLDER

become the Ohio Speaker and develop a loyal group of representatives. CLARK and

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HOUSEHOLDER discussed this strategy during a recorded call in or about January 2018.
Specifically, CLARK and HOUSEHOLDER discussed the budget in the context of their plan to
“orchestrate (c)(4) checks” to help HOUSEHOLDER fund campaigns for House members.
CLARK estimated that HOUSEHOLDER would “need a hundred and twenty thousand per
race,” to which HOUSEHOLDER responded, “/’d say one fifty, but yeah, you're in the ballpark.”
They then discussed how to raise the amount they needed in 501(c)(4) checks to fund candidate
campaigns. CLARK mentioned that, “some people decided to help [Speaker Candidate 1]” for
Speaker, to which HOUSEHOLDER responded, “veah, we can fuck them over later.”

90. In 2017, as Householder’s Enterprise began receiving wires from Company A
Service Co., Householder’s Enterprise built a list of candidates for the 2018 elections—
candidates who, at times, Householder’s Enterprise referred to as ‘““Team Householder,” and who
Householder’s Enterprise used GENERATION NOW funds to help elect.

Ol, In or around April 2018, after having received approximately $1.3 million in
Company-A-to-GENERATION-NOW payments between on or about March 15, 2017 and
March 15, 2018, Householder’s Enterprise sent wires totaling $1 million from GENERATION
NOW to PAC, which purchased in PAC’s name, advertisements benefiting HOUSEHOLDER
and Householder’s Enterprise candidates for the May 8, 2018 Ohio primary election.

92. On or about May 8, 2018, Householder’s Enterprise successfully executed their
primary election strategy, as the majority of the candidates supported by Householder’s
Enterprise won their primary elections.

93, Between on or about August 1, 2018 and on or about October 29, 2018,
Householder’s Enterprise received $1 million in Company-A-to-GENERATION-NOW

payments. Between on or about October 19, 2018 and October 29, 2018, GENERATION NOW

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wired $670,000 to Dark Money Group 1, which also had reed a $500,000 wire directly from
Energy Pass-Through. With this money, Householder’s Enterprise used Dark Money Group 1
to purchase over $1 million in advertisements in the name of Dark Money Group 1 that benefited
Householder’s Enterprise’s candidates in the final weeks before the November 2018 general
election.

94. Between in or about March 2017 and November 2018, after receiving Company-
A-to-GENERATION-NOW payments, Householder’s Enterprise wired and electronically
transferred money from GENERATION NOW to a LONGSTRETH-controlled bank account,
which made payments to benefit Householder’s Enterprise and enrich and benefit its members
and associates.

95. On or about November 8, 2018, Householder’s Enterprise successfully executed
its strategy, demonstrated by the election of the majority of the “Team Householder” candidates.

96. On or about January 7, 2019, HOUSEHOLDER was elected Speaker, in part, by
receiving votes from representatives whose races were supported by GENERATION NOW.

oF. Between on or about January 22, 2020 and on or about February 7, 2020, after
having received approximately $38.7 million in Company-A-to-GENERATION-NOW
payments between on or about August 2, 2019 and on or about October 22, 2019, Householder’s
Enterprise wired $1,010,000 from GENERATION NOW to Coalition, which then wired roughly
the same amount to PAC, which then purchased advertisements in PAC’s name before the
scheduled May 2020 primary. The advertisements purchased by PAC benefitted Householder’s

Enterprise and its candidates.

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Householder’s Enterprise Pushes Legislation in Return for Payments

98. In or about 2019, Householder’s Enterprise, through HOUSEHOLDER,
delivered a legislative solution for the Nuclear Plants in the form of HB 6. In a recorded
conversation on or about May 31, 2019, CLARK characterized HB 6 as a “nuclear power plant
bailout.”

99. Ina text message exchange on or about June 10, 2019, while HB 6 was pending in
the Ohio Senate, HOUSEHOLDER revealed his intent with regards to HB 6 and his official action
for the benefit of the Company A Nuclear Plants. In the exchange, LONGSTRETH told
HOUSEHOLDER that one of the “biggest issues we’ve heard from the Senate” was “Does
[Company A-1] really need the money?” After referencing the “subsidy” for “[Company A-1,]”
HOUSEHOLDER responded: “we only put in what they need.”

100. CLARK described Householder’s Enterprise’s corrupt arrangement with
Company A in recorded conversations on or about July 23 and 24, 2019. CLARK stated: “on
HB 6, [Company A] got $1.3 billion in subsidies, free payments, .. . so what do they care about
putting in $20 million a year for this thing, they don’t give a shit.” (At the time CLARK made
this statement, Householder’s Enterprise had received approximately $20 million from Company
A Service Co., Company A-1, and Energy Pass-Through into GENERATION NOW.) CLARK
stated on: “/Company A] is deep pockets.” CLARK explained: “J did this campaign. All we
cared about was getting the subsidy.”

101. In a recorded conversation on or about June 6, 2019, in the context of discussing
contributing to HOUSEHOLDER through GENERATION NOW, CLARK referenced
HOUSEHOLDER’s corrupt exchange with Company A, explaining that HOUSEHOLDER took

millions from Company A and “he went to war for them.” CLARK concluded that he wanted to

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be around politicians like HOUSEHOLDER who “will go to the wall, but those guys that go to
the wall can only do it once a year because if they do it all the time everybody knows they're pay
to play.” CLARK explained that the way politicians get exposed for “pay to play” is through
“stupidity” or “people who get aggrieved leak it.”

102. Similarly, during a September 2019 recorded conversation about the Ballot
Campaign’s effort to repeal HB 6 with CHS-1l(who was an employee/agent for the Ballot
Campaign), BORGES characterized the corrupt relationship between HOUSEHOLDER and
Company A as follows:

And, and Larry also, you know, so it’s this unholy alliance between
Larry_and [Company A] and [Borges’ firm]... . [Borges’ firm]
doesn’t care about Larry; he’s helping with the issue our single
largest client cares a lot about and... so unless you are somehow

affiliated directly to [Company A] or work for one of their interests
or you just want to suck up to Larry, you're on your side.

 

103. Company A-1 lobbyist CESPEDES planned the timeline for HOUSEHOLDER
to take the official action for Company A’s benefit even before HOUSEHOLDER became
Speaker. On or about November 20, 2018, weeks after the 2018 general election, CESPEDES
drafted a document titled “[Company A-1] Ohio lst Draft Timeline.” In this document,
CESPEDES wrote that although the next Speaker remained unclear at that time, there would be
“Speaker’s race clarity mid-December” 2018, and “[i]f Householder is successful, the effort will
likely be led from his Chamber,” with “potential legislative introduction” for Company A-1 in
early 2019.

104. Consistent with Householder’s Enterprise’s strategy, HOUSEHOLDER became
Speaker of the Ohio House of Representatives on or about January 7, 2019, with the “Team

Householder” candidates who won their campaigns—aided by Householder’s Enterprise,

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through payments from Company A—voting in favor of HOUSEHOLDER. On that day,
HOUSEHOLDER pledged to create a standing committee on energy generation.

105. On or about February 6, 2019, weeks after his election as Speaker,
HOUSEHOLDER announced the creation of a subcommittee of the House Energy and Natural
Resources Committee—the Energy Generation Subcommittee. HOUSEHOLDER later stated
that the Energy Generation Subcommittee was created for HB 6.

106. On or about April 12, 2019, the House introduced HB 6—roughly three months
after HOUSEHOLDER became Speaker. That day, HOUSEHOLDER held a press conference,
during which he stated he “crafted” the legislation with two other representatives (both of whom
Householder’s Enterprise supported with GENERATION NOW funds in 2018). When asked
where the amount of the subsidy contained in the proposed legislation came from,
HOUSEHOLDER responded, “it’s based on our brains. For me, I look back, for two years I’ve
had this in my head, and I’ve had various versions on that white board over the last several
months.” Householder’s Enterprise received its first $250,000 payment from Company A
Service Co. in March 2017, roughly two years prior to introduction of HB 6.

107. Between in or around April 2019 to July 2019, while HB 6 was pending before the
Ohio House of Representatives and the Ohio Senate, Householder’s Enterprise received into
GENERATION NOW approximately $16.8 million from Company A Service Co. and Company
A-1. With this money, Householder’s Enterprise paid for direct mail and radio and television
advertisements supporting HB 6, paid the operating costs of Householder’s Enterprise, and
laundered the money through LONGSTRETH’s bank account to pay members and associates of

Householder’s Enterprise and third parties.

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108. While HB 6 was pending before lawmakers, LONGSTRETH and CESPEDES
coordinated Company A payments to GENERATION NOW. For example, on June 4, 2019,
| CESPEDES texted to LONGSTRETH, “TJext me the # I need an invoice for $2M’;
LONGSTRETH responded, “working on it now.” On June 10,2019, CESPEDES texted, “Make
sure I get the invoice for this week as early as possible, please. Thanks.” LONGSTRETH
responded, “Yeah, I’m thinking it will be lower this week. Probably 1.3 ish.’ CESPEDES replied,
“Ok, thanks. I appreciate everything that you are doing. Let’s keep pushing this group.”

109. Through the advertisements, paid for by GENERATION NOW, Householder’s
Enterprise provided “cover” and “protect[ed]” legislators who planned to vote in favor of HB 6
and applied pressure to unsupportive legislators and those who were undecided. Householder’s
Enterprise planned and designed the advertisements, as evidenced by direct mail pieces, budgets,
drafts transcripts for advertisements, and communications with LONGSTRETH.

110. HOUSEHOLDER acknowledged the importance of “protecting” the
representatives who voted in favor of HB 6 in the following text message thread on or about June
16, 2019:

HOUSEHOLDER: dre we running positive radio in [redacted]’s district?
LONGSTRETH: — Not right now. It ended with the vote.

HOUSEHOLDER: Got to protect the troops — especially make sure they believe
we are protecting them.

111. In or around May 2019, HOUSEHOLDER’s proxy, CLARK, advised a
representative of the consequences from HOUSEHOLDER if the representative did not vote for
HB 6, which included, loss of committee assignments and stalling of his/her legislation.
HOUSEHOLDER personally attempted to pressure and advise the same representative through a

text messages that stated: “/Representative], I really need you to vote yes on HB 6, it means a lot

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to me. Can I count on you?” After the representative responded by indicating the representative
would vote against HB 6, HOUSEHOLDER replied by texting: “J just want you to remember —
when I needed you — you weren't there. twice.”

112. Onor about May 29, 2019, Householder’s Enterprise, its members and associates,
celebrated the Ohio House of Representatives’ passage of HB 6. Text message communications
among Enterprise members and associates indicate that HOUSEHOLDER, LONGSTRETH,
CESPEDES, a Company A Corp. lobbyist, and “/0-12 Reps... All yes votes” were in the “back
room” of a Columbus restaurant having dinner the night after HB 6 passed the Ohio House.

113. Onor about May 31, 2019, after receiving negative publicity about HB 6’s passage
in the Ohio House and while HB 6 was pending in the Ohio Senate, HOUSEHOLDER asked
LONGSTRETH, “Does [Associate 3] do a fucking thing? Has there been a plan you guys are
following or is the plan just to spend money.” Following a phone call from HOUSEHOLDER,
LONGSTRETH sent a follow up text message to HOUSEHOLDER later that day that explained,
“the whole HB6 team [is] coming into the office on Monday. . . I don’t ever want to get another
call from you like I got this morning. Let’s go win!”

114. The same day, following the initial text message and follow-up call from
HOUSEHOLDER, LONGSTRETH texted Company A-1 lobbyist CESPEDES: “Speaker has
asked me to pull together the whole HB 6 team on Monday. Are you available?”
LONGSTRETH added, the “Speaker is on a rampage.” CESPEDES responded, “Understood.
Just let me know what I should be prepared for. I want to make sure I have answers and do not
want the speaker’s rage directed at me lol.’ After LONGSTRETH. stated _ that

HOUSEHOLDER “was pissed” about a newspaper article, CESPEDES replied, “Aw fuck. Sorry

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to hear that. I’ve got your back. You have been great. Let’s just regroup and get the rest of the
deal done.”

115. Consistent with these text messages between LONGSTRETH and CESPEDES,
on or about June 3, 2019, Householder’s Enterprise members and associates met regarding the
strategy to pass HB 6 in the Senate. The members and associates discussed a targeted media
campaign including direct mail, direct cable, and direct radio that mentioned the senators by name.
Householder’s Enterprise members and associates also discussed a contingency plan, by which
“the Nukes” would be “stripped out and put into the budget.”

116. As it did when HB 6 was pending before the Ohio House of Representatives,
Householder’s Enterprise crafted and paid for advertisements, in the name of GENERATION
NOW while the legislation was pending in the Ohio Senate in or about June and July 2019.
Householder’s Enterprise documented its strategy and budget in this regard. Householder’s
Enterprise members and associates determined that the television commercials needed to
reference the senators by name. They also discussed that “on the fence” legislators had reported
“feeling the heat’ from constituent calls, presumably prompted by targeted advertisements urging
constituents to call their legislator. The new television commercials conveyed a sense of urgency,
imploring constituents to contact their respective senators and ask him/her “to pass HB 6 before
summer break” to save jobs. Householder’s Enterprise’s media campaign was funded by the
more than $7 million that Company A Service Co. and Company A-1 paid to the GENERATION
NOW account from on or about June 5, 2019 through July 5, 2019, while HB 6 was pending before

the Ohio Senate.

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117. HOUSEHOLDER also pressured and advised Ohio senators to pass legislation
through his proxy. On or about June 4, 2019, CLARK and HOUSEHOLDER had the following
exchange:

CLARK: Ihave talked to 7 members so far.
HOUSEHOLDER: Are you doing any good?
CLARK: Yes

CLARK: Out of 7 calls I got 6 yes votes and I no vote

118. Asa lobbyist for Company A-1, CESPEDES operated as a middleman between
Company A-1 and Householder’s Enterprise’s efforts to enact into law HB 6. On or about June
3, 2019, CESPEDES texted “gen now mail is still dropping. We are getting reports that’s [sic]
it’s been hitting late,” to which LONGSTRETH responded that “90% was delivered by the vote”
and “Members like seeing the mail because voters don’t know when the vote was.” Several days
later, CESPEDES texted LONGSTRETH, “Mail and radio looks good to me.”

Defeating the HB 6 Ballot Campaign

119. On or about, July 23, 2019, when the Senate passed HB 6, the House concurred in
amendments and the Governor signed HB 6, Householder’s Enterprise began executing its
strategy to defeat a reported Ballot Campaign so that HB 6 would become effective on or about
October 22, 2019.

120. On or about July 30, 2019—the day after the Ballot Campaign submitted proposed
ballot language to the Ohio Attorney General—Householder’s Enterprise caused Front Company
to register as a for-profit limited liability company with the Secretary of State of Ohio. A law firm,
which received payments both from GENERATION NOW and Front Company, filed the

documents on behalf of Ohioans for Energy Security. The creation of Front Company came after

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media reports began connecting GENERATION NOW to HB 6, and after HOUSEHOLDER
told LONGSTRETH in a text message that members have had issues with GENERATION
NOW: “Gen Now has ‘ink issues as well. I’ve had several members — including members of House
leadership come in privately and discuss their concern over next year's House campaigns based
on HB 6 messages, mail, TV and radio.”

121. Two weeks later, on or about August 12, 2019, Householder’s Enterprise caused
Front Company to open a bank account at the bank used by GENERATION NOW.

122. Between on or about August 2, 2019 and October 21, 2019, Householder’s
Enterprise received approximately $35.7 million in wires from Company A Service Co. and
Energy Pass-Through into GENERATION NOW. During that same timeframe, Householder’s
Enterprise laundered approximately $23 million of the $35.7 million received by
GENERATION NOW through Front Company, before paying for direct mail, media ads, and
other services to defeat the Ballot Campaign.

123. During the fall of 2019, among other things, Householder’s Enterprise used the
Company-A-to-GENERATION-NOW money paid through Front Company to bribe and attempt
to bribe signature collectors working for the Ballot Campaign, via Petition Services Co. 2.

124. Householder’s Enterprise discussed the tactic of bribing the signature collectors
to defeat the Ballot Campaign during recorded conversations. On or about September 23, 2019,
CLARK explained, with HOUSEHOLDER present, “so we have to go out on the corners and
buy out their people every day. We started doing that today and everybody’s having a fucking shit
fit.” CLARK continued, “if we knock off 25 people, collecting signatures, it virtually wipes them
out in next 20 days; this ends the whole fucking thing, ends in, that’s how hard it is, in addition to

the TV, the direct mail, and everything else... .” Yt was at this point in the conversation, when

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HOUSEHOLDER interrupted, and added, “Jt is so important, it is so important, that they are not
successful, because when the legislature votes on something it needs to stay law.” After this
recording, CLARK went on to have over 40 telephone contacts with an individual from Petition
Services Co. 2, who was contacting the Ballot Campaign’s signature collectors.

125. Householder’s Enterprise also laundered money through BORGES’ 17 Consulting
Group bank account to defeat the Ballot Campaign. Between on or about August 2, 2019 and on
or about October 21, 2019, Householder’s Enterprise laundered approximately $1.6 million in
payments received by GENERATION NOW from Energy Pass-Through and Company A
Service Co. through BORGES’ 17 Consulting bank account to pay for services to defeat the Ballot
Campaign, including a bribe payment to a Ballot Campaign insider for information and multiple
payments to a private investigations firm. The 17 Consulting Group account also made payments
to BORGES and CESPEDES during this time period.

126. On or about September 2, 2019, BORGES offered CHS-1, an employee and/or
agent of the Ballot Campaign, bribe money for inside information about the Ballot Campaign to
further Householder’s Enterprise’s efforts. BORGES made this offer approximately two days
after the Ohio Attorney General approved the ballot language submitted by supporters of the Ballot
Campaign.

127. On or about September 13, 2019, using funds from the 17 Consulting account,
which was funded solely by wires from GENERATION NOW, BORGES paid CHS-1 $15,000
for inside information about the Ballot Campaign. Following the exchange, BORGES asked the
employee/or agent on a number of occasions for the number of total signatures the Ballot
Campaign had collected so Householder’s Enterprise knew whether it needed to enhance its

efforts to defeat the Ballot Campaign. For example, on or about September 20, 2019, BORGES

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texted CHS-1: “We were told you guys had 120,000 signatures. Any idea if that’s right?’ On or
about September 27, 2019, BORGES texted CHS-1: “Any idea how many total signatures you
guys have? We were told 80,000 today.” Householder’s Enterprise documented its strategy in
notes, stating: “—>[CHS-1°s name] ~BORGES”; and “Employ — 25K — pend” for 17 Consulting
expenditures, which was an original bribery offer to CHS-1 from BORGES.

128. Householder’s Enterprise also laundered money through LONGSTRETH’s
bank accounts to defeat the Ballot Campaign and benefit Householder’s Enterprise. Between on
or about August 2, 2019 and October 21, 2019, Householder’s Enterprise laundered
approximately $1.15 million in payments received by GENERATION NOW from Energy Pass-
Through and Company A Service Co. through LONGSTRETH’s x9192 account, which
Householder’s Enterprise members and associates used to benefit themselves personally during
the same period, including over $42,000 for costs associated with HOUSEHOLDER’s Florida
home, $50,000 to LONGSTRETH’s brokerage account, and $45,000 to CLARK during the same
time period. LONGSTRETH’s account also was used to pay for direct mailers.

129. When the Ballot Campaign failed to collect the requisite number of signatures,
HOUSEHOLDER celebrated enactment of the law through an October 21, 2019 press release, in
which he noted expressly that the new law would bail out Company A-1’s failed nuclear power
plants. Specifically, HOUSEHOLDER stated: “/ am pleased that House Bill 6 will go into effect
at midnight tonight and am confident it will produce positive results for Ohio.” Among the benefits

of the bill, HOUSEHOLDER highlighted, “First, HB 6 will save the operation of two Ohio

nuclear power plants.

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Continued Benefits to Householder’s Enterprise

130. On or about October 22, 2019, the day after the Ballot Campaign failed and HB 6

officially became law, Householder’s Enterprise received a $3 million wire and a $4,330.86

cashier’s check into GENERATION NOW from Company A Service Co. by way of Energy Pass-

Through.

131. On or about October 24, 2019, Householder’s Enterprise wired from the

GENERATION NOW account $2,921,000 to LONGSTRETH’s x9192 account, which only

contained approximately $28,000 at the time. Thereafter, Householder’s Enterprise transferred

the Company-A-to-GENERATION-NOW money from the x9192 account to various

LONGSTRETH-controlled accounts and then paid to various members and associates of

Householder’s Enterprise:

A.

On or about October 25, 2019, Householder’s Enterprise paid $50,000
each to Associate 1 and Associate 5 from a LONGSTRETH-controlled
account. In or around January 2020, Householder’s Enterprise paid
Associate 1 and Associate 5 another $25,000 and $100,000, respectively,
from a LONGSTRETH-controlled account. |

Between on or about October 24, 2019 and January 13, 2020,
Householder’s Enterprise paid CLARK $45,000 from a
LONGSTRETH-controlled account.

In or around December 2019, Householder’s Enterprise paid $59,050 in
costs associated with HOUSEHOLDER’s Florida house from a

LONGSTRETH-controlled account.

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D. On or about October 22, 2019, after the Ballot Campaign failed, BORGES’
17 Consulting account contained approximately $975,000. Householder’s
Enterprise used the vast majority of the remaining money to pay
CESPEDES and BORGES. Specifically, Householder’s Enterprise paid
CESPEDES $500,000 and BORGES approximately $188,000. BORGES
then spent the account down to approximately $12.20 by on or about
January 27, 2020, largely through personal expenditures.

E. In or around December 2019 and January 2020, Householder’s Enterprise
paid LONGSTRETH $1.1 million in the form of a wire to
LONGSTRETH’s brokerage account from a LONGSTRETH-controlled
account.

132. Between January 2020 and April 28, 2020, after having received Company-A-to
GENERATION-NOW payments, Householder’s Enterprise wired and_ electronically
transferred money from GENERATION NOW to LONGSTRETH’s x9192 account, which
made payments to third parties to benefit Householder’s Enterprise candidates and to enrich
Householder’s Enterprise members and associates.

In violation of Title 18, United States Code, Section 1962(d).

FORFEITURE ALLEGATION

133. The allegations contained in Count One of this Indictment are hereby incorporated
by reference for the purpose of alleging forfeiture pursuant to the provisions of Title 18, United

States Code, Section 1963.

134. Upon conviction of the offense set forth in Count One of this Indictment, the

defendants, LARRY HOUSEHOLDER, JEFFREY LONGSTRETH, NEIL CLARK,

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MATTHEW BORGES, JUAN CESPEDES, and GENERATION NOW, shall forfeit to the

United States, pursuant to Title 18, United States Code, Section 1963:

a.

any interest acquired or maintained in violation of Title 18, United States
Code, Section 1962, which interests are subject to forfeiture to the United
States pursuant to Title 18, United States Code, Section 1963(a)(1);

any interest in, security of, claim against, or property or contractual right
of any kind affording a source of influence over, any enterprise which the
defendants established, operated, controlled, conducted, or participated in
the conduct of, in violation of Title 18, United States Code, Section 1962,
which interests, securities, claims, and rights are subject to forfeiture to the
United States pursuant to Tile 18, United States Code, Section 1963(a)(2);
and

any property constituting, or derived from, any proceeds obtained, directly
or indirectly, from racketeering activity or unlawful debt collection in
violation of Title 18, United States Code, Section 1962, which property is
subject to forfeiture to the United States pursuant to Title 18, United States

Code, Section 1963(a)(3).

The property subject to forfeiture to the United States, pursuant to Title 18, United States Code,

Section 1963(a)(1), (a)(2), and (a)(3) includes, but is not limited to, the following property:

a.

At least $59,996,835.86, said amount being the total of interests acquired
and the gross proceeds obtained through the violation of Title 18, United
States Code, Section 1962;

Contents of Fifth Third Bank Account No. 7284503310 in the name of

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defendants:

Generation Now Inc.;

Contents of Fifth Third Bank Account No. 7903726847 in the name of
Generation Now Inc.;

Contents of Charles Schwab Account No. 5429-8830 in the name of
Exchange Investment Realty, LLC; and

Contents of Charles Schwab Account No. 8974-9238 in the name of

Jeffrey Philip Longstreth.

SUBSTITUTE ASSETS

If any of the property described above, as a result of any act or omission of the

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;

as been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be divided without

difficulty;

it is the intent of the United States, pursuant to Title 18, United States Code, Section 1963(m), to

seek forfeiture of any other property of the defendants, up to the value of the property described

above.

All pursuant to Title 18, United States Code, Section 1963(a) and (m) and Rule 32.2(a)
of the Federal Rules of Criminal Procedure.

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A TRUE BILL

\s\

GRAND JURY FOREPERSON

DAVID M. DEVILLERS
UNITED STATES ATTORNEY

 

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